






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00167-CV







Office of Public Utility Counsel, Appellant


v.



Public Utility Commission of Texas, Appellee







DIRECT APPEAL FROM THE PUBLIC UTILITY COMMISSION OF TEXAS






M E M O R A N D U M   O P I N I O N




	By order of May 6, 2004, this cause has been consolidated into, and will continue as,
appeal number 03-04-00148-CV.  No matters being left in cause 03-04-00167-CV, the appeal is
dismissed.



					                                                                                     

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Patterson and Puryear

Appeal Dismissed

Filed:   May 6, 2004


